            Case 2:08-cr-00212-TLN Document 311 Filed 05/21/09 Page 1 of 2


 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MARY L. GRAD
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: 916-554-2763
 5
 6
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )          CR. NO. S-08-212-LKK
                                        )
12             Plaintiff,               )          MOTION AND ORDER
                                        )          DISMISSING INDICTMENT
13        v.                            )
                                        )
14   RHIANNON ROCHELLE WRIGHT,          )
                                        )
15             Defendant.               )
     ___________________________________)
16
17         The United States of America, by and through its undersigned
18   attorney, Mary L. Grad, Assistant United States Attorney,
19   respectfully requests that this Court dismiss with prejudice the
20   above-captioned Indictment, filed May 8, 2008, and the
21   Superseding Indictment, filed May 22, 2008, against defendant
22   RHIANNON ROCHELLE WRIGHT.       In resolution of this case, Ms.
23   Wright has entered a guilty plea to related state charges.
24   ///
25   ///
26   ///
27   ///
28   ///

                                          1
           Case 2:08-cr-00212-TLN Document 311 Filed 05/21/09 Page 2 of 2


 1        This motion is made pursuant to the provisions of Rule 48(a)
 2   of the Federal Rules of Criminal Procedure 48(a).
 3
     DATED: May 18, 2009                     LAWRENCE G. BROWN
 4                                           Acting United States Attorney
 5
 6                                           By /s Mary L. Grad
                                               MARY L. GRAD
 7                                           Assistant U.S. Attorney
 8
 9
10                                  O R D E R
11
12        It is ordered that the above-captioned Indictment and
13   Superseding Indictment be and are hereby dismissed with prejudice
14   against RHIANNON ROCHELLE WRIGHT.
15
16   DATED: May 20, 2009
17
18
19
20
21
22
23
24
25
26
27
28

                                         2
